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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OP NEW YORK
                                                                                 MAR 1 8 2021
                                                                                                1
                                                     X
    WAYNE CHIN.                                                            PRO SE OFFICE
                               Petitioner,                  NOTION       FOR   RELEASE     ON    BAIL
                                                            PENDING RESOLUTION OP 2S U.S.C
                                                            § 2254 PETITION
                -against-
                                                            I9-CV-02729 (RRM)
                                                            ECP Case
    JOSEPH NOETH,

                                Respondent*



             Wayne Chin*s criminal conviction and sentence is invalid

    because     a           violation   ot     a    defendant's        autonomy      is    complete
                    I




    whenever coiinsel [or the court] usurps control of an issue within
    defendant's sole prerogative.

             Petitioner's odyssey                  began    in   2009 with a state court's

    sentence of             twenty-five      years to       life.      The State's       prosecutor

    contended       that on June             12#    2001#    the     petitioner called          Renee

    Aarons on her cell phone and lured her to 95 Linden Boulevard#

    Brooklyn#       New        York#    with       the   intent     to    kill     her    for   fifty
                        I




    thousand dollars. At approximately 10:30 that evening# Ns. Aarons

V   was talking I on her cell phone# while seated in a dark green Lexus
    vehicle#    parked in front of 95 Linden Boulevard (80# 156) when

    she         was shot several               times       by an     assailant who fled          the

    scene.



             Twelve people within the confines of the crime scene# as

    well as the,victim's brother who was in Manhattan# called 911 to

    report the crime. Petitioner was charged with Aarons' murder and

    subsequently             tried   and   convicted        in   the     Supreme    Court of     the

    State of New            York# Kings County# on September 30# 2009.
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